Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 1 of 32

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SS AOKS (Rev, 194) Subpoena ina Civil Case _

Issued by the

UNITED STATES DISTRICT COURT
NORTHERN DISTRICTOR CALIFORNIA

 

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company. SUBPOENA IN A CIVIL CASE

V.

ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,
"NC., a Nevada corporation, THOMAS MOORE, M.D. a.k.a. “presaaimgcehotmail. Case Number:

com.” an individual, SARATL B. WEINSTEIN a.k.a. “execsecaaimgehotmail.com,”
ee and RAC TAEL E. SILVER, an individual, United States District Court,
* Yahoo! Inc, District of Nevada, Southern Division

7TO1 First Avenue
Sunnyvale, CA 94089

C YOU ARE COMMANDED to appear in the United States District court at the place, date, and tine specified below
testify in the above case.

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

[J] YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition
in the above case.

PLACE OF DEPOSTTION DATE AND TIME

 

 

NM YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the

place. date, and time specified below (list documents or objects):
You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify the
individuals who own and control the Hotmail email address "aaimg@yahoo.com," to include all identifying information, user contact
information, and account origination information, and access location information (i.e. logs of Internet Protoca! addresses used to log

in to that above referenced Yahoo email accounts),

PLACE ~~ KRONENBERGER & ASSOCIATES,
220 Montgomery Street, Suite 1920, San Francisco, CA 94104

[1 YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

DATE AND TIME
10:30 am, July 15, 2005

 

PREMISES DATE AND TIME

 

 

Any organizaticn not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors. or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which tke person will testify. Federal Rules of Civil Procedure, 30(b)(6).

 

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER
Karl S. Kro ienberger
KRONENBERGER & ASSOCIATES,
220 Montgomery Street. Suite 1920, San Francisco, CA 94104 Tel: 415-955-1155

(See Rude ds, Federal Rules of Civil Procedure. Parts C & Don neat page)

If action is pending in district other than district of issuance, state district under case number
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 2 of 32

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AOSS (Rev | 94) Subpoena ina Cit Case

 

 

PROOF OF SERVICE
DATE PLACE

SERVED

SERVED ON (PRINT NAME) MANNER OF SERVICE

 

SERVED BY (PRINT NAMES) MTLeE

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information

contained in the Proof of Service is true and correct.

 

Executed on

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 3 of 32

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© AOS® (Rev, 1 94) Subpoena in a Civil Case
Issued by the
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

St. Matthew's University (Cayman) LTD., a Cayman Islands company SUBPOENA IN A CIVIL CASE

V.

ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,
INC., a Nevada corporation; THOMAS MOORE, M.D. a.k.a. “presaaimg@chotmail. Case Number:!
com,” an individual: SARAIT B. WEINSTEIN a.k.a. “exeesecaaimg:@hotmail.com,”
an individual: and RACHAEL E. SELVER. an individual United States District Court,
TO: Network Solutions. LLC District of Nevada, Southern Division
13200 Woodlawn Park Drive
Herndon, VA 20171

[1 YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above case.

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

 

CO YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition

in the above case.
PLACE OF DEPOSITION DATE AND TIME

 

NK) YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the

place. date, and time specified below (list documents or objects):
You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify all
individuals and businesses associated with the domain name AAIMG.COM, to include all current and past contact information,
billing information, credit card numbers associated with the AAIMG.com domain name and the services you performed for AAIMG.

COM.
PLACE =. KRONIENBERGER & ASSOCIATES, DATE AND TIME
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005

[1 YOU ARE COMMANDED to permit inspection of the following premises at the date and time specificd below.

PREMISES DATE AND TIME

 

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the

matters on which tke person will testify. Federal Rules of Civil Procedure, 30(b)(6).

ISSUING OFFICER'S SIGNATURE AND TITLE (NDICATE [F ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER
Karl S. Kronenberger
KRONENBERGER & ASSOCIATES,
220 Montgemery Street, Suite 1920, San Francisco, CA 94104 Tel: 415-955-1155

(See Rule 45. Federal Rules of Civil Procedure, Parts C & D on next page)

If action is pending in district other than district of issuance, state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 4 of 32

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AQOSS (Rey. 1.94) Subpoena ina Civil Case =

 

PROOF OF SERVICE

 

 

 

DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME) TITLE

 

DECLARATION OF SERVER

 

1 declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 5 of 32

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SS AO8R (Rey, 194) Subpoena in a Civil Case _

Issued by the

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

 

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE
V.

ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,

INC., a Nevada corporacion, THOMAS MOORE, M.D. a.k.a. “presaaimg@hotmail. Case Number:!
com,” an individual: SARATI B. WEINSTEIN a.k.a. “execsecaaimg@hotmail.com,”

an individual; and RACHAEL E. SILVER, an individual.

TO: Go Daddy Sottware. Inc.
14455 N. Hayden Rd. STE 226
Scottsdale, AZ 85260

1) YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above case.

 

PLACE OF TESTIMOR Y COURTROOM

 

DATE AND TIME

 

 

OC YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition
in the above case.

 

PLACE OF DEPOSITION DATE AND TIME

 

 

M YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place. date. and time specified below (list documents or objects):

You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify all

individuals and businesses associated with the domain name AAIMG.COM, to include all contact information, billing information,

credit card numbers associated with the AAIMG.COM domain name and services you performed for AAIMG.COM.

 

DATE AND TIME

PLACE KRONENBERGER & ASSOCIATES,
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005
C] YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

 

PREMISES DATE AND TIME

 

 

Any organizauicn not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

 

ISSUING OFFICER’S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

 

(See Rule 48. Federal Rules of Civil Procedure. Parts C & D on next page)

If action is pending in district other than district of issuance. state district under case number,
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 6 of 32

 

 

 

 

 

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AOSS (Rev 194) Subpoena ina Civil Case —_————__-—
PROOF OF SERVICE
DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNEFR OF SERVICE
SERVED BY (PRINT NAME} HITLE

 

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 7 of 32

we we

Subpoena ina Civil Case

 

Issued by the

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company. SUBPOENA IN A CIVIL CASE

Vv.
ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,
INC.. a Nevada corporation, THOMAS MOORE, M.D. a.k.a. “presaaimg(@-hotmail. 4, J
com,” an individual; SARAH B. WEINSTEIN a.k.a. “execsecaaimg(@@hotmail.com,” Case Number:
an individual; and RACHAEL E. SILVER, an individual,

TO: Val-U-Corp Services, Inc.
1802 N. Carson St., Ste. #212
Carson City, NV 89701

[11 YOU ARE COMMANDED to appear in the United States District court at the place, date, and tirne specified below
testify in the above case.

PLACE OF TESTIMORY COURTROOM

 

DATE AND TIME

 

 

[1 YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition

in the above case.

PLACE OF DEPOSITION DATE AND TIME

 

 

NM YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place. date. and time specified below (list documents or objects):

You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify all

individuals and businesses associated with the corporation American Association of International Medical Graduates, Inc.

C'AAIMG"). with Dr. Thomas Moore, with Sarah B. Weinstein and with Rachael E. Silver, to include all contact information, billing

information, credit card numbers associated with the AAIMG corporation and the services you performed for AAIMG.

PLACE ~~ KRONENBERGER & ASSOCIATES, DATE ANDIIME
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005
[2 YOU ARE COMMANDED %o permit inspection of the following premises at the date and time specified below.

PREMISES DATE AND TIME

 

 

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors. or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the

matters on which the person will testify. Federal Rules of Civil Procedure. 30(b)(6).

ISSUING OFFICER'S SIGNATERE AND TITLE GNDICATE TF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER
Karl S. Kronenberger
KRONENBERGER & ASSOCIATES,
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 Tel: 415-955-1155

(See Rule 45, Federal Rules of Civ) Procedure. Parts © & D on next page)

' [faction is pending in district other than district of issuance, state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 8 of 32

 

 

 

 

 

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AO88_ (Rev. 1/94) Subpoena ina Civil Case
PROOF OF SERVICE
DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME) TITLE

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 9 of 32

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SS AOSE8 (Rev. 1 94) Subpoena in a Civil Case

 

Issued by the

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE

V.
ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,
(NC., a Nevada corporation, THOMAS MOORE, M.D. a.k.a. “presaaimg(@hotmail. Cas J
oe ee “ase Number:
com,” an individual; SARAII B. WEINSTEIN a.k.a, “execsecaaimg(¢ hotmail.com,” ‘
an individual: and RACHAEL E. SILVER, an individual, United States District Court
A 3

TO! Telus Communications District of Nevada, Southern Division
555 Robson Street
Vancouver, British Columbia, CanadaV6B 3K9

{] YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below

testify in the above case.

PLACE OF TESTIMOR Y COURTROOM

 

DATE AND TIME

 

 

1) YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition

in the above case.

PLACE OF DEPOSITION DATE AND TIME

 

 

K) YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place. date, and time specified below (list documents or objects):

You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identity the

account holder who utilized the Internet Protocol addresses listed in Attachment A, at the dates and times listed in Attachment A.

Such identifying information shall include. if possessed by you, the name and address of any account holder accessing such IP

addresses at the dates and times in Attachment A, and the MAC addresses of the network devices used at such dates and times.

PLACE ~~ KRONENBERGER & ASSOCIATES, DATE AND TIME
220 Mentgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005
1 YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

PREMISES DATE AND TIME

 

 

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors. or managing agents, or other persons who consent to testify on its behalf, and may set forth, for cach person designated, the

matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER
Karl S. Kronenberger
KRONENBERGER & ASSOCIATES,
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 Tel: 415-955-1155

(See Rule 44, Federal Rules of Civit Procedure. Parts C & D on nest page)

If action is pending in district other than district of issuance. state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 10 of 32

 

 

 

 

 

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AOS8S (Rev, 1:94) Subpoena ina Civil Case -
PROOF OF SERVICE
DATE PLACE
SERVED
SERVED ON (PRINT NAME} MANNER OF SERVICE
SERVED BY (PRINT NAME) TITLE

 

DECLARATION OF SERVER

 

1 declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 11 of 32

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SAOKS (Rev, 1/94) Subpoena ina Civil Case
Issued by the

UNITED STATES DISTRICT COURT

DISTRICT OF COLORADO

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE

V.
ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,
INC., a Nevada corporacion: THOMAS MOORE, M.D. a.k.a. “presaaimg@@hotmail. ‘ase N J
. Jas tT)
com,” an individual: SARAH B. WEINSTEIN a.k.a. “exeesecaaimg(ehotmail.com,” Case Numbe
an individual; and RACAAEL E. SILVER, an individual, United States District Court

TO: Qwest Communications District of Nevada, Southern Division

1801 California Street STE 5100
Denver, Colerado 80202

O YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the ubove case.

PLACE OF TESTIMOR Y COURTROOM

 

DATE AND TIME

 

 

O YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition

in the above case.

PLACE OF DEPOSITION DATE AND TIME

 

K) YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the

place, date, and time specified below (list documents or objects):
You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify the
account holder who utilized the Internet Protocol addresses listed in Attachment A, at the dates and times listed in Attachment A.
Such identifying information shall include, if possessed by you. the name and address of any account holder accessing such IP
addresses at the dates and times in Attachment A, and the MAC addresses of the network devices used at such dates and times.
PLACE =KRONENBERGER & ASSOCIATES, DATE AND TIME
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005

CO YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

PREMISES DATE AND TIME

 

 

Any organizaticn not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the

matters on which tke person will testify. Federal Rules of Civil Procedure, 30(b){6).

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER’S NAME. ADDRESS AND PHONE NUMBER
Karl S. Kronenberger
KRONENBERGER & ASSOCIATES,
220 Montecmery Street, Suite 1920, San Francisco, CA 94104 Tel: 415-955-1155

(See Rule 45. Federal Rules of Civil Procedure. Parts C & D on next page)

‘If action is pending in district other than district of issuance, state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 12 of 32

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AOS8 (Rev 1:94) Subpoena ing Civil Case

 

PROOF OF SERVICE

 

 

 

DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME) TITLE

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 13 of 32

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So AOSR (Rev. 1 94) Subpoena ina Civil Case

Issued by the

UNITED STATES DISTRICT COURT

 

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE

V.
ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,
INC., a Nevada corporation: THOMAS MOORE, M.D. a.k.a. “presaaimg@hounail. Cas .
. “ase Number:
com,” an individual; SARAH B. WEINSTEIN a.k.a. “execsecaaimg(@ghotmail.com,” . u

an individual; and RACHAEL E. SILVER, an individual, . Lo.
United States District Court,

TO: Naae - oe
SBC Internet Services, Inc. District of Nevada, Southern Division
1010 North Saint Mary's St.

San Antonio. TX 78215

C] YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above case.

 

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

1) YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition
in the above case.

 

PLACE OF DEPOSITION DATE AND TIME

 

 

K) YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place. date, and time specified below (list documents or objects):

You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify the
account holder who utilized the Internet Protocol addresses listed in Attachment A, at the dates and times listed in Attachment A.
Such identifying information shall include, if possessed by you, the name and address of any account holder accessing such IP
addresses at the dates and times in Attachment A, and the MAC addresses of the network devices used at such dates and times.
PEACE KRONENBERGER & ASSOCIATES, DATE AND TIME

220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005

CO YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

 

PREMISES DATE AND TIME

 

 

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors. or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

 

ISSUING OFFICER'S SIGNATURE AND TTPLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER’S NAME, ADDRESS AND PHONE NUMBER
Karl S. Krorenberger
KRONENBERGER & ASSOCIATES,
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 Tel: 415-955-1155

(See Rule 45. Federal Rules of Civil Procedure, Parts C & D on next page}

"If action is pending in district other than district of issuance. state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 14 of 32

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AOSS (Rev, 194) Subpoena in a Civil Case —

 

PROOF OF SERVICE

 

 

 

DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME) TITLE

 

DECLARATION OF SERVER

 

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Procf of Service 1s truce and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 15 of 32

uit’ —
S.AO88 (Rey, 1/94) Si bpoena ina Civil Case

Issued by the

UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

 

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE
Vv.

ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,

INC., a Nevada corporation; THOMAS MOORE, M.D. a.k.a. “presaaimg@hotmail.

com,” an individual: SARAH B. WEINSTEIN a.k.a. “execsecaaimg(@hotmatl.com,”

an individual; and RACHAEL E. SILVER, an individual,

Case Number:!

TO: Level 3 Communications, Inc.
1025 Eldoracio Boulevard
Denver, Colorado 80021

[1 YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above case.

 

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

O YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition
in the above case.

 

PLACE OF DEPOSITION DATE AND TIME

 

 

MM YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place, date. and time specified below (list documents or objects):
You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify the
account holder who utilized the Internet Protocol addresses listed in Attachment A, at the dates and times listed in Attachment A.
Such identifying information shall include, if possessed by you, the name and address of any account holder accessing such IP
addresses at the dates and times in Attachment A, and the MAC addresses of the network devices used at such dates and times.

PLACE KRONENBERGER & ASSOCIATES, DATE AND TIME

220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005
CO YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

 

PREMISES DATE AND TIME

 

 

Any organization net a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

 

ISSUING OFFICER’S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER’S NAME. ADDRESS AND PHONE NUMBER

 

(See Rule 45. Federal Rules of Civil Procedure. Parts C & D on neat page)

If action is pending in district other than district of issuance, state district under case number,
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 16 of 32

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AOXS (Rev | 94) Subpoena in a Civ Case

 

PROOF OF SERVICE
DATE PLACE

SERVED

SERVED ON (PRINT MAME) MANNER OF SERVICE

 

SERVED BY (PRINT SAME} TITLE

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information

contained in the Proof of Service is true and correct.

 

Executed on

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 17 of 32

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&AO88 (Rey, 1'94) Subpoena ina Civil Case
Issued by the

UNITED STATES DISTRICT COURT

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE

Vv.
ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADLATES,
INC., a Nevada corporation, THOMAS MOORE, M.D. a.k.a. “presaaimg@ hotmail. Cuse Number:!
com,” an individual: SARAI! B. WEINSTEIN a.k.a. “execsecaaimgi@hotmail.com,”
an individual: and RACHAEL E. SILVER. an individual,

TO: IBM Corporation
1133 Westchester Ave.
White Plains. NY 10604

[1 YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above case.

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

 

[] YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition

in the above case.

PLACE OF DEPOSITION DATE AND TIME

 

 

I YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the

place. date, and time specified below (list documents or objects):
You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identity the
account holder who utilized the Internet Protocol addresses listed in Attachment A, at the dates and times listed in Attachment A.
Such identifving information shall include, if possessed by you, the name and address of any account holder accessing such IP
addresses at the dates and times in Attachment A, and the MAC addresses of the network devices used at such dates and times.

PLACE KRONENBERGER & ASSOCIATES, DATE AND TIME

220 Montgomery Street, Suite 1920, San Francisco, CA 94104
LC] YOU ARE COMMANDED io permit inspection of the following premises at the dat

10:30 am, July 15, 2005
e and time specified below.

PREMISES DATE AND TIME

 

 

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shalt designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the

matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

 

(See Rule 48. Federal Rules of Civil Procedure, Parts C & D on next page)

‘If action is pending in district other than district of issuance. state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 18 of 32
-AOQ88 (Rey, 194) Subpoena ina Civil Case _

 

PROOF OF SERVICE

 

 

 

DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME) TITLE

 

DECLARATION OF SERVER

 

1 declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 19 of 32

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BAOKER (Rev, 194) Subpoena in a Civil Case nn

Issued by the

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA-LAS VEGAS

 

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE

Vv.
ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,
INC., a Nevada corporation; THOMAS MOORE, M.D. a.k.a. “presaaimg@hotmail. +, il
com,” an individual; SARAH B. WEINSTEIN a.k.a. “execsecaaimg(@hotmail.com.” Case Number:
an individual; and RACHAEL E. SILVER, an individual,

TO: DXI1 Networks Limited
24 Chiswell Street
London ECLY 4TY

O YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above case.

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

 

1 YOU ARE COMMANDED to appear at the placc, date. and time specified below to testify at the taking of a deposition
in the above case.

PLACE OF DEPOSITION DATE AND TIME

 

 

[1] YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place, date, and time specified below (list documents or objects):

You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify the

account holder who utilized the Internet Protocol addresses listed in Attachment A, at the dates and times listed in Attachment A.

Such identifying information shall include, if possessed by you, the name and address of any account holder accessing such IP

addresses at the dates and times in Attachment A, and the MAC addresses of the network devices used at such dates and times.
PLACE DATE AND TIME

 

O YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

 

PREMISES DATE AND TIME

 

 

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directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

 

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSLING OFFICER'S NAME. ADDRESS AND PHONE NUMBER

 

(See Rule 45. Federal Rules of Civil Procedure, Parts C & D on next page)

If action is pending in district other than district of issuance, state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 20 of 32

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PROOF OF SERVICE

 

 

DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME} rITLE

 

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 21 of 32

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Issued by the
UNITED STATES DISTRICT COURT

 

 

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EASTERN pistricror PENNSYLVANIA
St. Matthew's University (Cayman) LTD., a Cayman Islands company. SUBPOENA IN A CIVIL CASE
V.
ASSOCIATION OF AN ERICAN INTERNATIONAL MEDICAL GRADUATES,
INC. a Nevada corporation: THLOMAS MOORE, M.D. a.k.a. “presauimyre hotmail. Case Number:
vile +

com.” an individual: SARAH B. WEINSTEIN a.k.a. “execsecaaimgichotmail.com,”
an individuals and RACHAEL E. SILVER, an individual,

TO: Comcast Cable Communications
1500 Market Street
Philadelphia, PA 19102

(1 YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below

testify in the above case.

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

 

(1) YOU ARE COMMANDED to appear at the placc, date, and time specified below to testify at the taking of a deposition

in the above case.

PLACE OF DEPOSITION DATE AND TIME

 

 

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addresses at the dates and times in Attachment A, and the MAC addresses of the network devices used at such dates and times.
PLACE KRONENBERGER & ASSOCIATES, DATE AND TIME
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005

[1 YOU ARE COMMANDED °o permit inspection of the following premises at the date and time specified below.

PREMISES DATE AND TIME

 

 

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the

matters on which the person will testifv. Federal Rules of Civil Procedure, 30(b)(6).

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

 

(See Rule 45. Federal Rules of Civil Procedure, Parts C & D on next page)

‘Tf action is pending in district other than district of issuance, state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 22 of 32

 

 

 

 

 

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AOS8S (Rev, 194) Subpoena in a Civil Case —_——_ _
PROOF OF SERVICE
DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME) TITLE

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 23 of 32

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Ss AO8ER (Rey, 194) Subpoena jn a Civil Case

 

Issued by the

UNITED STATES DISTRICT COURT

DISTRICT OF COLUMBIA

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENAIN A CIVIL CASE

V.
ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,
INC.. a Nevada corporation. THOMAS MOORE, M_D. a.k.a. “presaaimg@hotmail. Case Number:!
com,” an individual; SARAH B. WEINSTEIN a.k.a. “excesecaaimg(vhotiail.com,”
an individual: and RACHAEL E. SILVER. an individual,

TO: Cogent Com nunications, Inc.
1015 31st Street, NW
Washington, DC 20007

[1 YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above case.

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

1 YOU ARE COMMANDED to appear at the place, date. and time specified below to testify at the taking of a deposition

in the above case.

PLACE OF DEPOSITION DATE AND TIME

 

 

WZ YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place. date. and time specified below (list documents or objects):
You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify the
account holder who utilized the Internet Protocol addresses listed in Attachment A, at the dates and times listed in Attachment A.
Such identifying information shall include, if possessed by you, the name and address of any account holder accessing such IP
‘addresses at the dates and times in Attachment A, and the MAC addresses of the network devices used at such dates and times.

PLACE ~~ KRONENBERGER & ASSOCIATES, DATE ANDINIME
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005
TF) YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

PREMISES DATE AND TIME

 

 

Any organization net a party to this suit that is subpoenaed for the taking of a deposition shalt designate one or more officers,
directors, or managing agents. or other persons who consent to testify on its behalf, and may set forth, for cach person designated, the
matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

 

(See Rule 45. Federal Rules of Civil Procedure. Parts C & D on next page)

Ifaction is pending in district other than district of issuance, state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 24 of 32

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AOSS (Rey, 194) Subpoena jn a Civil Case

 

PROOF OF SERVICE
DATE PLACE
SERVED

SERVED ON (PRINT MAME) MANNER OF SERVICE

 

SERVICED BY (PRINT NAM:) TITLE

 

DECLARATION OF SERVER

] declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service 1s true and correct.

 

Executed on

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 25 of 32

*AO88 (Rev. 1 94) Subpocna in aCivi) Case

 

Issued by the

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE

Vv.
ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,
INC... a Nevada corpora ion, THOMAS MOORE, M.D. a.k.a. “presaaimgechotmail.
com,” an individual: SARATL B. WEINSTEIN a.k.a. “execsecaaimgrehotmailcom,”
an individual: and RAC JAEL E. SILVER, an individual,

Case Number:!

TO: AT&T Corporation
One AT&T Way
Bedminster, NJ 07921

[1] YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above case.

 

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

1 YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking ofa deposition
in the above case.

 

PLACE OF DEPOSITION DATE AND TIME

 

 

YI YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place. date. and time specified below (list documents or objects):

You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identity the
account holder who utilized the Internet Protocol addresses listed in Attachment A, at the dates and times listed in Attachment A.
Such identifying information shall include, if possessed by you, the name and address of any account holder accessing such IP
addresses at the dates and times in Attachment A, and the MAC addresses of the network devices used at such dates and times.
PLACE KRONENBERGER & ASSOCIATES, DATE ARDUIME

220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005
Ol YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

 

PREMISES DATE AND TIME

 

 

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors. or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on Which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

 

ISSUING OFFICER'S SIGNATURE AND TITLE (NDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

 

{See Rule 45, Federal Rules of Civil Procedure, Parts C & D on next page)

‘ Ifaction is pending in district other than district of issuance, state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 26 of 32

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AOS8& (Rev, 1:94) Subpoena in a Civil Case

 

 

PROOF OF SERVICE

 

 

 

DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME) TITLE

 

DECLARATION OF SERVER

 

I] declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service Is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 27 of 32

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Issued by the
UNITED STATES DISTRICT COURT

 

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company. SUBPOENA IN A CIVIL CASE
Vv

ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,

iNC., a Nevada corporation; THOMAS MOORE, M.D. a.k.a. “presaaimg@hotmail. x, vl
com,” an individual: SARAH B. WEINSTEIN a.k.a. “execsccaaimg@hotmail.com,” Case Number:
an individual; and RACHAEL E. SILVER, an individual,

TO: America Online. Inc.
22000 AOL Way
Dulles, VA 20166
(1) YOU ARE COMMANDED to appear in the United States District court at the place,
testify in the above case.

date, and time specified below

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

[) YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking ofa deposition

in the above case.

 

PLACT OF DEPOSITION DATE AND TIME

 

 

YJ YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the

place. date, and time specified below (list documents or objects):
You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identity the
account holder who utilized the Internet Protocol addresses listed in Attachment A, at the dates and times listed in Attachment A.
Such identifying information shall include, if possessed by you, the name and address of any account holder accessing such IP
addresses at the dates and times in Attachment A, and the MAC addresses of the network devices used at such dates and times.

PLACE KRONENBERGER & ASSOCIATES, DATE AND TIME
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005
[1 YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

PREMISES DATE AND TIME

 

 

Any organizaticn not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers.
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

 

(Sce Rule 45, Federal Rules of Civil Procedure. Parts C & D on next page)

If action is pending in district other than district of issuance. state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 28 of 32
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PROOF OF SERVICE

 

 

 

DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME} TITLE

 

DECLARATION OF SERVER

T declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 29 of 32

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PSAOSK (Rev 104) Subpoena ina Civil Case
Issued by the

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE

V.
ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,
INC., a Nevada corporation: THOMAS MOORE, M.D. a.k.a. “presaaimgihotmail. Case Number:!

com.” an individual; SARAH B. WEINSTEIN a.k.a. “execsecaaimg@¢hotmail.com,”
an individual; and RACHAEL E. SILVER. an individual, . Lo ~
TO United States District Court,
* Randolph Boyd Skillin District of Nevada, Southern Division

639 E Mckinley Ave.
Fresno, CA 93728
[} YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above case.

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

 

[J YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition
in the above case.

PLAC OF DEPOSITION DATE AND TIME

 

 

X) YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place, date, and time specified below (list documents or objects):

You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify all

individuals and businesses associated with above listed Defendants, to include all contact information, billing information, credit card

numbers associated with the AAIMG website and the services you performed for AAIMG.COM.

 

DATE AND TIME

PLACE = KRONENBERGER & ASSOCIATES,
10:30 am, July 15, 2005

220 Mcntgomery Strect, Suite 1920, San Francisco, CA 94104
[LJ YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

PREMISES DATE AND TIME

 

 

Any organizaticn not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6}.

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER
Karl S. Kronenberger
KRONENBERGER & ASSOCIATES,
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 Tek 415-955-1155

(See Rule ds. Federal Rules ef Civil Procedure. Parts C & D on next page)

[faction is pending in district other than district of issuance, state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 30 of 32

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AOS’ (Rey) 9+) Sub gene ina Civil Case

 

PROOF OF SERVICE

 

 

 

DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY 1 PRINT NAMIE) TITLE

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is truc and correct.

 

Executed on

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 31 of 32
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Issued by the

UNITED STATES DISTRICT COURT
EASTERN pistrictor MISSOURI

 

St. Matthew’s University (Cayman) LTD., a Cayman tslands company, SUBPOENA IN A CIVIL CASE

V.
ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,
INC... a Nevada corporation: THOMAS MOORE, M.D. a.k.a. “presaaimgte hotmail. Case Number:!
com,” an individual: SARAIE B. WEINSTEIN a.k.a. “execsecaaimg’@hotmail.com,”
an individual; and RACHAEL E. SILVER, an individual,
TO: Andrey D. Demkin, aka Andrew Demkin
3414 G We Avenue
St. Ann, MO 63024

CL] YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above vase.

PLACE OF TESTIMONY COLRTROOM

 

DATE AND TIME

 

 

C1] YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition
in the above case.

PLACE OF DEPOSITION DATE AND TIME

 

 

NM YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place. date, aid time specified below (list documents or objects):

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PLACE KRONENBERGER & ASSOCIATES, DATE ANDIIME
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005
C1) YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

 

PREMISES DATE AND TIME

 

 

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ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

 

(See Rule 48. Federal Rules of Civit Procedure. Parts C & D on next page}

If acuion is pending in district other than district of issuance, state district under case number
Case 2:05-cv-00848-BES-LRL Document 2-4 Filed 07/12/05 Page 32 of 32

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AO88 (Rev, 1/94) Subpoena ina Civil Case

 

 

PROOF OF SERVICE

 

 

 

DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME) TITLE

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Procf of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
